                   UNITED STATES DISTRICT COURT
                  SOUTHERN DISTRICT OF NEW YORK


IN RE: SSA BONDS ANTITRUST            Case No.: 1:16-cv-3711 (ER)
LITIGATION




   ORDER PRELIMINARILY APPROVING THE SETTLEMENT AGREEMENT,
     CERTIFYING THE SETTLEMENT CLASS, AND APPOINTING CLASS
  COUNSEL AND CLASS REPRESENTATIVES FOR THE SETTLEMENT CLASS
       WHEREAS, the Action1 is pending before this Court;

       WHEREAS, Class Plaintiffs2 have entered into and executed the Stipulation and

Agreement of Settlement (the “Stipulation” or “Settlement Agreement”) with Deutsche Bank AG

and Deutsche Bank Securities Inc. (collectively, “Deutsche Bank,” “Deutsche,” or “Settling

Defendant”), which, if finally approved by the Court, will result in the settlement of all claims

against Deutsche Bank;

       WHEREAS, in full and final settlement of the claims asserted against them in this

Action, Settling Defendant has agreed to pay $48,500,000 (the “Settlement Amount”), and to

provide cooperation as set forth in the Settlement Agreement;

       WHEREAS, Class Plaintiffs, having made an application pursuant to Rule 23(e) of the

Federal Rules of Civil Procedure for an order preliminarily approving the Settlement Agreement,

which sets forth the terms and conditions of the Settlement of the Action against Settling

Defendant and for dismissal of the Action against Settling Defendant with prejudice upon the

terms and conditions set forth in the Settlement Agreement;

       WHEREAS, Class Plaintiffs have sought, and Settling Defendant has agreed not to object

to, the certification of the Settlement Class (as defined below) solely for settlement purposes;

       WHEREAS, Class Plaintiffs have requested that Co-Lead Counsel be appointed as

settlement class counsel for the Settlement Class pursuant to Rule 23(g) of the Federal Rules of

Civil Procedure;


1
         As defined in the Settlement Agreement, the “Action” refers to the above-captioned
litigation pending in the United States District Court for the Southern District of New York and
any other actions that may be transferred or consolidated into this litigation.
2
      As defined in the Settlement Agreement, “Class Plaintiffs” refers to, collectively, Sheet
Metal Workers Pension Plan of Northern California; KBC Asset Management NV; and Iron
Workers Pension Plan of Western Pennsylvania.

                                                 2
          WHEREAS, Class Plaintiffs have requested that they be appointed class representatives

of the Settlement Class;

          WHEREAS, the Parties have agreed to the entry of this Order Preliminarily Approving

the Settlement Agreement, Certifying the Settlement Class, and Appointing Class Counsel and

Class Representatives for the Settlement Class (the “Preliminary Approval Order”); and

          WHEREAS the Court has read and considered the Settlement Agreement and the exhibits

annexed thereto and other documents submitted in connection with Plaintiffs’ Motion for

Preliminary Approval of the Settlement Agreement, and good cause appearing therefor;

          NOW, THEREFORE, IT IS HEREBY ORDERED:

          1.     All terms in initial capitalization used in this Preliminary Approval Order shall

have the same meanings as set forth in the Settlement Agreement, unless otherwise defined

herein.

I.        PRELIMINARY APPROVAL OF SETTLEMENT AGREEMENT

          2.     Upon review of the record, the Court finds that the Settlement Agreement resulted

from arm’s-length negotiations between highly experienced counsel and falls within the range of

possible approval. The Court hereby preliminarily approves the Settlement Agreement, subject

to further consideration at the Fairness Hearing described below. The Court preliminarily finds

that the Settlement encompassed by the Settlement Agreement raises no obvious reasons to

doubt its fairness and provides a reasonable basis for presuming that the Settlement Agreement

satisfies the requirements of Rules 23(c)(2) and 23(e) of the Federal Rules of Civil Procedure

and due process so that an appropriate notice of the Settlement Agreement should be given,

subject to the Court’s approval of a notice plan as provided in this Preliminary Approval Order.




                                                 3
II.    PRELIMINARY CERTIFICATION OF SETTLEMENT CLASS

       3.      Pursuant to Rule 23 of the Federal Rules of Civil Procedure, the Court

preliminarily certifies, solely for settlement purposes, a Settlement Class defined as follows:

       All persons or entities who, from January 1, 2005 to the date of the Preliminary
       Approval Order, entered into an SSA bond transaction with a Defendant; a direct
       or indirect parent, subsidiary, affiliate, or division of a Defendant; a Released
       Party; or an alleged co-conspirator, where such Persons were either domiciled in
       the United States or its territories or, if domiciled outside of the United States or
       its territories, entered into an SSA bond transaction in the United States or its
       territories or that otherwise involved United States trade or commerce. Excluded
       from the Settlement Class are Defendants, their co-conspirators identified herein,
       and their officers, directors, management, employees, current subsidiaries or
       affiliates, and all federal governmental entities; provided, however, that
       Investment Vehicles shall not be excluded from the definition of the Settlement
       Class.

       4.      Solely for purposes of the Settlement set forth in the Settlement Agreement, the

Court preliminarily finds that the requirements of Federal Rules of Civil Procedure 23(a) and

23(b)(3) have been satisfied, as follows:       (a) the members of the Settlement Class are so

numerous that joinder of all members of the Settlement Class is impracticable; (b) there are

questions of law and fact common to the Settlement Class, and these common questions

predominate over any individual questions; (c) the claims of Class Plaintiffs are typical of the

claims of the Settlement Class; (d) Class Plaintiffs and Co-Lead Counsel have fairly and

adequately represented and protected the interests of the Settlement Class; and (e) a class action

is superior to other available methods for the fair and efficient adjudication of the controversy,

considering (i) the interests of members of the Settlement Class in individually controlling the

prosecution of separate actions; (ii) the extent and nature of any litigation concerning the

controversy already begun by members of the Settlement Class; (iii) the desirability or

undesirability of concentrating the litigation of these claims in this particular forum; and (iv) the

likely difficulties in managing this Action as a class action.


                                                  4
         5.     If the Effective Date does not occur with respect to the Settlement Agreement

because of the failure of a condition that affects the Settlement Agreement, this preliminary

certification of the Settlement Class shall be deemed null and void without the need for further

action by the Court or any of the Parties. In such circumstances, each of the Parties shall retain

their rights to seek or to object to certification of this litigation as a class action under Rule 23 of

the Federal Rules of Civil Procedure, or under any other state or federal rule, statute, law, or

provision thereof, and to contest and appeal any grant or denial of certification in this litigation

or in any other litigation on any other grounds.

III.     CLASS COUNSEL AND CLASS REPRESENTATIVES

         6.     Pursuant to Rule 23(g) of the Federal Rules of Civil Procedure, the law firms of

Quinn Emanuel Urquhart & Sullivan, LLP and Robbins Geller Rudman & Dowd LLP are

preliminarily appointed, solely for settlement purposes, as Co-Lead Counsel for the Settlement

Class.

         7.     Class Plaintiffs are preliminarily appointed, solely for settlement purposes, as

class representatives for the Settlement Class.

IV.      PLAN OF ALLOCATION, NOTICE, AND FAIRNESS HEARING

         8.     At a later date after Settling Defendant produces a list of names and addresses of

members of the Settlement Class pursuant Paragraph 8.6 of the Settlement Agreement, Co-Lead

Counsel shall submit for the Court’s approval a proposed Plan of Allocation of the Settlement

Fund (and including all interest and income earned thereon after being transferred to the Escrow

Account).

         9.     At a later date, Co-Lead Counsel shall submit for the Court’s approval a notice

plan and proposed form of notice for purposes of advising members of the Settlement Class,

among other things, of their right to object to the Settlement Agreement, their right to exclude

                                                   5
themselves from the Settlement Class, the procedure for submitting a request for exclusion, the

time, date, and location of the Fairness Hearing to be scheduled by the Court, and their right to

appear at the Fairness Hearing.

V.     OTHER PROVISIONS

       10.     The notice requirements of the Class Action Fairness Act, 28 U.S.C. § 1715, have

been met.

       11.     The Court approves Co-Lead Counsel’s designation of __________ as the Claims

Administrator. Absent further order of the Court, the Claims Administrator shall have such

duties and responsibilities as are set forth in the Settlement Agreement.

       12.     The Court approves Plaintiffs’ designation of __________ as Escrow Agent.

Absent further order of the Court, the Escrow Agent shall have such duties and responsibilities in

such capacity as are set forth in the Settlement Agreement.

       10.
       13.     The Court approves the establishment of an Escrow Account under the Settlement

Agreement as a Qualified Settlement Fund (“QSF”) pursuant to Internal Revenue Code § 468B

and the Treasury Regulations promulgated thereunder, and retains continuing jurisdiction as to

any issue that may arise in connection with the formulation or administration of the QSF. All

funds held by the Escrow Agent shall be deemed and considered to be in custodia legis, and shall

remain subject to the jurisdiction of the Court, until such time as such funds shall be distributed

pursuant to the Settlement Agreement and further order(s) of the Court.

       11.
       14.     All reasonable expenses incurred in identifying and notifying potential Settlement

Class Members as well as administering the Settlement Fund shall be paid, as set forth herein, up

to the sum of $500,000.

       12.
       15.     In the event that the Settlement Agreement is terminated, is vacated, is not

approved, or the Effective Date fails to occur for any reason, then the parties to the Settlement
                                                 6
Agreement shall be deemed to have reverted to their respective status in the Action as of the

Execution Date, and, except as otherwise expressly provided herein, such parties shall proceed in

all respects as if the Settlement Agreement and any related orders had not been entered, and the

Settlement Agreement (including any amendment(s) thereto) and this Preliminary Approval

Order shall be null and void, of no further force or effect, and without prejudice to any of the

Parties, and may not be introduced as evidence or referred to in any actions or proceedings by

any Person; provided, however, that in the event of termination of the Settlement Agreement,

Paragraphs 5.2 and 10.4 of the Settlement Agreement shall nonetheless survive and continue to

be of effect and have binding force. Any portion of the Settlement Fund previously paid by or

on behalf of Settling Defendant, together with any interest earned thereon, less Taxes due, if any,

with respect to such income, and less costs of administration and notice actually incurred and

paid or payable from the Settlement Fund (not to exceed the sum of $500,000 without the prior

approval of the Court) shall be returned to Settling Defendant within five (5) business days after

written notification of such event is sent by counsel for Settling Defendant or Co-Lead Counsel

to the Escrow Agent. At the request of Settling Defendant’s counsel, the Escrow Agent shall

apply for any tax refund owed on the Settlement Fund and pay the proceeds to Settling

Defendant.

       13.
       16.     Neither Settling Defendant, nor its counsel, nor any of the Released Parties shall

have any responsibility for, or liability whatsoever with respect to the notice procedures; the

investment, administration, or distribution of the Settlement Fund; the Plan of Allocation; the

determination, administration, calculation, or payment of any claims asserted against the

Settlement Fund; any funds held by the Escrow Agent; the payment or withholding of Taxes; any

losses incurred in connection therewith; any application for attorneys’ fees, service awards or



                                                7
expenses submitted by Class Plaintiffs or Co-Lead Counsel; or any allocation of the Fee and

Expense Award by Co-Lead Counsel. Any such matters will be considered separately from the

fairness, reasonableness, and adequacy of the Settlement set forth in the Settlement Agreement.

       14.
       17.     Settling Defendant has denied any liability, fault, or wrongdoing of any kind in

connection with the allegations in the Action. As such, neither the Settlement Agreement, nor

any of its respective terms or provisions, nor any of the negotiations or proceedings connected

with the Settlement Agreement shall be construed as an admission or concession of the truth of

any of the allegations in the Action, or of any liability, fault, or wrongdoing of any kind by

Settling Defendant.

      18.
      15.      All proceedings in the Action with respect to Released Parties are stayed until

further order of the Court. Such stay does not apply, however, to the extent actions are necessary

to implement the terms of the Settlement Agreement or comply with their terms. Pending final

determination of whether the Settlement Agreement should be approved, the Releasing Parties

shall be enjoined from prosecuting in any forum any Released Claims against any Released

Party, and shall not sue any Released Party on the basis of any Released Claims or assist any

third party in commencing or maintaining any suit against any Released Party related in any way

to any Released Claims.

       16.
       19.     All Class Members shall be bound by all determinations and judgments in the

Action concerning the Settlement set forth in the Settlement Agreement, whether favorable or

unfavorable to the Settlement Class.




                                                8
17.
